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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re
                                                                  Chapter 11

Lordstown Motors Corp., et al.,1                                  Case No. 23-10831 (MFW)
                                                                  (Jointly Administered)

                                    Debtors.                      Re: Docket No. 922


                     ORDER EXTENDING THE DEADLINE BY WHICH DEBTORS
                          MAY FILE NOTICES TO REMOVE ACTIONS

             Upon the motion (the “Motion”)2 of the Debtors for the entry of an order (this “Order”),

pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rules 9006(b) and 9027, and Local

Rule 9006-2, extending the period within which the Debtors may remove actions pursuant to 28

U.S.C. § 1452 through and including May 23, 2024; and it appearing that this Court has jurisdiction

to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012 (Sleet, C.J.); and consideration of the Motion and the relief requested therein

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due, sufficient, and proper notice of the Motion

having been provided under the circumstances and in accordance with the Bankruptcy Rules and

the Local Bankruptcy Rules, and it appearing that no other or further notice need be provided; and

a hearing having been held, if necessary, to consider the relief requested in the Motion (the


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       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
       service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       Capitalized terms used, but not otherwise defined herein, shall have the meanings ascribed to such terms in the
       Motion.



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“Hearing”); and upon consideration of the record of all of the proceedings had before the Court;

and the Court having found and determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor,

          IT IS HEREBY ORDERED THAT:

                      The Motion is GRANTED as set forth herein.

                      The Removal Deadline is extended through and including May 22, 2024 pursuant

to Bankruptcy Rule 9006.

                      The Debtors are authorized to take all reasonable actions necessary or appropriate

to effectuate the relief granted in this Order.

                      This Order shall be without prejudice to (i) any position the Debtors may take

regarding whether section 362 of the Bankruptcy Code applies to stay any litigation pending

against the Debtors, or (ii) the Debtors’ right to seek a further extension of the Removal Deadline.

                      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the enforcement of this Order.




Dated: February 7th, 2024                                 MARY F. WALRATH
Wilmington, Delaware                                    2 UNITED STATES BANKRUPTCY JUDGE

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